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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD and SHEILA
AL-SANABANI,                                                                   DEFENDANTS.

                                    ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Ali Obad’s fifth motion to continue trial

[103]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for September 15, 2008. Defense counsel requests additional time to

accommodate a mandatory Youth Court Judge seminar on September 15, 2008 and further plea

negotiations in the instant case.

        The Government has advised that it does not object to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A) the period of delay from September 15, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant Ali Obad’s fifth motion to continue trial [103] is GRANTED;

        (2) Trial of this matter is continued as to Defendants Sheila Al-Sanabani and Ali Obad until

Monday, November 3, 2008 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

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       (3) The delay from September 15, 2008 to November 3, 2008 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is October 14, 2008; and

       (5) The deadline for submitting a plea agreement is October 20, 2008.

       SO ORDERED this the 3rd day of September, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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